                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                          CRIMINAL DOCKET NO. 5:13-cr-22
 UNITED STATES OF AMERICA,                         )
                                                   )
                  PLAINTIFF,                       )
                                                   )
     v.                                            )           ORDER
                                                   )
 ISAAC A. VINSON, IV,                              )
                                                   )
                 DEFENDANT.                        )
                                                   )

          THIS MATTER is before the Court on Defendant Isaac A. Vinson, IV’s Second Motion

to Extend Self-Reporting Date. (Doc. 196). The Court notes that the Government does not oppose

the motion. Further, Defendant is the primary caretaker for his mother, who has stage four breast

cancer and is not expected to survive much longer. Defendant is requesting additional time to

ensure that her affairs are in order before reporting to the Bureau of Prisons.

           Upon consideration of the Motion, it is hereby GRANTED.

          IT IS, THEREFORE, ORDERED that Defendant Isaac A. Vinson, IV’s Motion to

Extend Self-Reporting Date is GRANTED and that he self-surrender to his designated facility on

a day no earlier than October 29, 2015, to be determined by the Bureau of Prisons in its discretion.

                                           Signed: July 15, 2015




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